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 1 PHILLIP A. TALBERT
   Acting United States Attorney
 2 MATTHEW G. MORRIS
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                             CASE NO. 2:15-CR-29-TLN
11
                                    Plaintiff,             ORDER SEALING DOCUMENTS AS SET FORTH
12                                                         IN GOVERNMENT’S NOTICE
                             v.
13
     AUDREY JOHNSON,
14
                                   Defendant.
15

16
            Pursuant to Local Rule 141(b) and based upon the representation contained in the Government’s
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     Request to Seal, IT IS HEREBY ORDERED that the Plea Agreement and the Government’s Request to
18
     Seal shall be SEALED until further order of this Court.
19
            It is further ordered that access to the sealed documents shall be limited to the government and
20
     counsel for the defendant.
21
             The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court
22
     for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in the
23
     Government’s request, sealing the aforementioned documents serves a compelling interest. The Court
24
     further finds that, in the absence of closure, the compelling interests identified by the Government would be
25
     ///
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     ///
27
     ///
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               Case 2:15-cr-00029-TLN Document 86 Filed 09/20/16 Page 2 of 2

 1 harmed. The Court further finds that there are no additional alternatives to sealing these documents that

 2 would adequately protect the compelling interests identified by the Government.

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 4 Dated: September 19, 2016

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 8                                                                 Troy L. Nunley
                                                                   United States District Judge
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